               Case 3:16-cv-02119-ADC Document 7 Filed 09/14/18 Page 1 of 2



                            THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO



    WILFREDO RAMOS-MARTINEZ,

          Petitioner,

          v.                                                      Civil No. 16-2119 (ADC)
                                                           [Related to Crim. No. 01-638-2 (ADC)]
    UNITED STATES OF AMERICA

          Respondent.



                                          OPINION AND ORDER

        Before the Court is Wilfredo Ramos-Martínez’s (“petitioner”) petition for habeas corpus

relief pursuant to 28 U.S.C. § 2255. ECF No. 1. Petitioner pleaded guilty to one count of

conspiracy to distribute an excess of five kilograms of cocaine, in violation of 21 U.S.C. § 846, for

which he received a sentence of 480 months imprisonment and five years of supervised release.

Crim. No. 01-638, ECF No. 123. In a separate section 2255 proceeding, the parties stipulated to

reducing petitioner’s sentence to 300 months imprisonment with five years of supervised

release, after which the Court dismissed the petition. 1 Civ. No. 08-1388, ECF Nos. 45, 46; Crim.

No. 01-638, ECF No. 231. In the stipulation reducing the sentence to 300 months, petitioner also




1The Court initially denied the petition on the merits. Civ. No. 08-1388, ECF No. 26. Petitioner appealed the denial.
Id. at ECF No. 29. The First Circuit Court of Appeals vacated the denial and remanded for an evidentiary hearing.
Id. at ECF No. 40. The Court held the hearing, after which point the parties reached the aforementioned stipulation.
Id. at ECF No. 45.
           Case 3:16-cv-02119-ADC Document 7 Filed 09/14/18 Page 2 of 2
Civil No. 16-2119 (ADC)                                                                   Page 2


“waived his right to bring any further § 2255 petitions stemming from this conviction.” Civ. No.

08-1388, ECF No. 46. Thus, the petition was effectively dismissed with prejudice.

      In the present filing, petitioner seeks relief under Johnson v. United States, 135 S.Ct. 2551

(2015), which addresses the “crime of violence” provisions of the Armed Career Criminal Act

(“ACCA”) in 18 U.S.C. § 924(e)(2)B). ECF No. 1; see also 28 U.S.C. § 2255(f)(3). However, the

present petition is a second or successive petition under section 2255, for which petitioner must

obtain leave to file from the First Circuit Court of Appeals. See 28 U.S.C. § 2244(b)(3)(A).

Accordingly, the petition at ECF No. 1 is DISMISSED WITHOUT PREJUDICE. The Clerk of

Court is to enter judgment accordingly.

      SO ORDERED.

      At San Juan, Puerto Rico, on this 13th day of September, 2018.

                                                  S/AIDA M. DELGADO-COLÓN
                                                  United States District Judge
